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AO 442 (Rev. 11111) Arrest Warrant



                                          UNITED STATES DISTRICT COURT
                                                                       for the

                                                                District of Columbia


                   United States of America
                               v.                                           )
                        Emily Hernandez
                                                                                  Case: 1:21-mj-00073
                                                                            )
                                                                            )     Assigned to: Judge Robin M. Meriweather
                                                                            )     Assign Date: 1/15/2021
                                                                            )     Description: COMPLAINT WfARREST WARRANT
                                                                            )
                              Defendant


                                                             ARREST WARRANT
To:       Any authorized law enforcement           officer


           YOU ARE COMMANDED                   to arrest and bring before a United States magistrate judge without           unnecessary delay
(name o/personto be arrested)         Emily Hernandez
                                     ----~---------------------------------------------------------------
who is accused of an offense or violation          based on the following       document filed with the court:

o     Indictment          0    Superseding     Indictment       0   Information          0   Superseding   Information       ~    Complaint

o     Probation Violation     Petition         0   Supervised Release Violation       Petition     0 Violation    Notice     0    Order of the Court

This offense is briefly described as follows:

    18 U.S.C. 1752 (a)(1) - Knowingly Entering or Remaining in any Restricted Building or Grounds Without Lawful Authority
    18 U.S.C. 1752 (a)(2) - Disorderly Conduct when such Conduct Impedes the Orderly Conduct of Government Business

  40 U.S.C. 5104(e)(2)(D) - Disruptive Conduct, Loud, Threatening, or Abusive Language in the Capitol Buildings
  40 U.S.C. 51 04(e)(2)(G) - Parading, Demonstrating, or Picketing in the Capitol Buildings

  40 U.S.C. 641, Steal, purloin, without authority, sell, conveyor              dispose of any thing of value of the United States
                                                                                                                 Robin M. Meriweather
Date:          01/15/2021                                                                                        2021.01.1516:18:46-05'00'
                                                                                                    issuing officer's Signature


City and state:        Washington,        DC                                           Robin M. Meriweather, U.S. Magistrate            Jud e
                                                                                                    Printed name and title


                                                                       Return

                                                                                                                                            2011
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                                                                (LIVE)


                                     Query      Reports         Utilities    Help    What's New    Log Out



                                                                                                                    CLOSED

                                    U.S. District Court
                           Eastern District of Missouri (St. Louis)
               CRIMINAL DOCKET FOR CASE #: 4:21-mj-06027-PLC All Defendants


 Case title: USA v. Hernandez                                                       Date Filed: 01/19/2021
 Other court case number: 1:21-mj-00073 USDC District of                            Date Terminated: 01/19/2021
                          Columbia


 Assigned to: Magistrate Judge Patricia L.
 Cohen

 Defendant (1)
 Emily Hernandez                                                     represented by Ethan B. Corlija
 TERMINATED: 01/19/2021                                                             5205 Hampton Avenue
                                                                                    St. Louis, MO 63109
                                                                                    314-832-9600
                                                                                    Fax: 314-353-0181
                                                                                    Email: ecorlija@sbcglobal.net
                                                                                    LEAD ATTORNEY
                                                                                    ATTORNEY TO BE NOTICED
                                                                                    Designation: Retained
                                                                                    Bar Status: Active

 Pending Counts                                                                     Disposition
 None

 Highest Offense Level (Opening)
 None

 Terminated Counts                                                                  Disposition
 None

 Highest Offense Level (Terminated)
 None

 Complaints                                                                         Disposition
 RULE 5c3 OUT



 Plaintiff
https://moed-ecf.sso.dcn/cgi-bin/DktRpt.pl?874234772776587-L_1_0-1                                                      1/3
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                                                  MOED - CM/ECF     01/20/21 Page 4 of 5
                                                                (LIVE)

 USA                                                                 represented by U. S. Attorney - Criminal
                                     Query      Reports         Utilities     Help What's New Log Out
                                                                                    UNITED STATES ATTORNEYS OFFICE -
                                                                                    St. Louis
                                                                                    111 S. Tenth Street
                                                                                    20th Floor
                                                                                    St. Louis, MO 63102
                                                                                    314-539-2200
                                                                                    Fax: 314-539-7695
                                                                                    Email: usamoe.crimdock@usdoj.gov
                                                                                    LEAD ATTORNEY
                                                                                    ATTORNEY TO BE NOTICED
                                                                                    Designation: Assistant US Attorney
                                                                                    Bar Status: Gov
            Email All Attorneys
  (will not send to terminated parties)

  Email All Attorneys and Additional Recipients
      (will not send to terminated parties)


  Date Filed           # Docket Text
  01/19/2021               RULE 5 COMPLAINT - OUT signed by Judge Magistrate Judge Patricia L.
                           CohenACCESS TO THE PDF DOCUMENT IS RESTRICTED PURSUANT TO THE E-
                           GOVERNMENT ACT. ACCESS IS LIMITED TO COUNSEL OF RECORD AND THE
                           COURT. as to Emily Hernandez (1). (DJO) (Entered: 01/20/2021)
  01/19/2021               Arrest of defendant Emily Hernandez date of arrest: 1/19/2021 on charging papers from
                           District of Columbia (CLO) (Entered: 01/20/2021)
  01/19/2021           1 ELECTRONIC MINUTE ENTRY (no pdf attached) for proceedings held before Magistrate
                         Judge Patricia L. Cohen: Initial Appearance re: Rule 5c3 - MJ arrest case only as to Emily
                         Hernandez held on 1/19/2021. Under Section 15002(b)(2)(A) of the CARES act, in
                         response to the COVID-19 crisis this Court authorizes the use of video and telephone
                         conferencing for criminal hearings. The defendant has been advised and consents on the
                         record to proceed by Zoom. Counsel for the government and for the defendant also
                         participate by Zoom. Defendant advised of rights and indicated an understanding of those
                         rights. Defendant given copy of: Complaint. Defendant to retain: Ethan Corlija., Bond
                         Execution Hearing as to Emily Hernandez held on 1/19/2021. Bond set in the amount of:
                         O/R. Bond papers executed., Rule 5c3 Removal Hearing as to Emily Hernandez held on
                         1/19/2021. Defendant does not contest identity and waives identity hearing. The
                         Government makes an oral motion as to the excludable time under the speedy trial act as to
                         the time between this hearing and the future appearance in the District of Columbia to
                         which the defendant does not object. The Court GRANTS this oral motion as per the record.
                         (Probation/Pretrial Officer: Molly Gain) (proceedings started: 3:48 PM) (proceedings
                         ended: 4:08 PM)(Recorded on Zoom by: COlliges) (Defendant Location: BOND)
                         (Appearance for Government: Matthew Drake)(Appearance for Defendant: Ethan Corlija)
                         (CLO) (Entered: 01/20/2021)
  01/19/2021           2 Rule 5 papers prepared by the judge as to Emily Hernandez. (CLO) (Entered: 01/20/2021)
  01/19/2021           3 WAIVER of Rule 5(c)(3) Hearings by Emily Hernandez (CLO) (Entered: 01/20/2021)
  01/19/2021           4 Appearance Bond Entered as to defendant Emily Hernandez in amount of $ O/R, Signed by
                         Magistrate Judge Patricia L. Cohen on 1/19/2021. (CLO) (Entered: 01/20/2021)
  01/19/2021           5 ORDER Setting Conditions of Release by Defendant Emily Hernandez. as to Emily
https://moed-ecf.sso.dcn/cgi-bin/DktRpt.pl?874234772776587-L_1_0-1                                                   2/3
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                                                                        (LIVE)

                          Hernandez (1) O/R Signed by Magistrate Judge Patricia L. Cohen on 1/19/2021. (CLO)
                                 Query Reports       Utilities     Help What's New Log Out
                          (Entered: 01/20/2021)
  01/20/2021           6 Notice to District of Columbia of a Rule 5 or Rule 32 Initial Appearance as to Emily
                         Hernandez. Your case number is: 1:21MJ00073. Docket sheet and documents attached. (If
                         you require certified copies of any documents, please send a request to
                         MOEDml_Team_JAR-SRC-PLC_moed.uscourts.gov. If you wish to designate a different
                         email address for future transfers, send your request to
                         InterDistrictTransfer_TXND@txnd.uscourts.gov.) (CLO) (Entered: 01/20/2021)
  01/20/2021           8 ENTRY OF ATTORNEY APPEARANCE: by Ethan B. Corlija on behalf of Emily
                         Hernandez (Corlija, Ethan) (Entered: 01/20/2021)




https://moed-ecf.sso.dcn/cgi-bin/DktRpt.pl?874234772776587-L_1_0-1                                               3/3
